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    Edward O. Sassower, P.C.                                     Steven J. Reisman
    Joshua A. Sussberg, P.C.                                     KATTEN MUCHIN ROSENMAN LLP
    KIRKLAND & ELLIS LLP                                         575 Madison Avenue
    KIRKLAND & ELLIS INTERNATIONAL LLP                           New York, New York 10022
    601 Lexington Avenue                                         Telephone:     (212) 940-8800
    New York, New York 10022                                     Facsimile:     (212) 940-8776
    Telephone:     (212) 446-4800
    Facsimile:     (212) 446-4900
    -and-
    Chad J. Husnick, P.C.
    W. Benjamin Winger (pro hac vice pending)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    300 North LaSalle Street
    Chicago, Illinois 60654
    Telephone:       (312) 862-2000
    Facsimile:       (312) 862-2200

    Proposed Co-Counsel for the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )    Chapter 11
                                                                         )
    BARNEYS NEW YORK, INC., et al., 1                                    )    Case No. 19-36300 (CGM)
                                                                         )
                                       Debtors.                          )    (Joint Administration Requested)
                                                                         )

                          DEBTORS’ MOTION SEEKING
                     ENTRY OF AN ORDER (I) AUTHORIZING
                 THE DEBTORS TO FILE A CONSOLIDATED LIST OF
            CREDITORS IN LIEU OF SUBMITTING A SEPARATE MAILING
           MATRIX FOR EACH DEBTOR, (II) AUTHORIZING THE DEBTORS
        TO FILE A CONSOLIDATED LIST OF THE DEBTORS’ THIRTY LARGEST
      UNSECURED CREDITORS, (III) AUTHORIZING THE DEBTORS TO REDACT
     CERTAIN PERSONALLY IDENTIFIABLE INFORMATION FOR THE DEBTORS’
       EMPLOYEES, (IV) APPROVING THE FORM AND MANNER OF NOTIFYING
      CREDITORS OF COMMENCEMENT, AND (V) GRANTING RELATED RELIEF



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
      Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
      Fifth Avenue, New York, New York 10017.
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        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion. 2

                                                Relief Requested

        1.        The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A, (a) authorizing the Debtors to (i) file a consolidated list of creditors in lieu of submitting

a separate mailing matrix for each Debtor, (ii) file a consolidated list of the Debtors’ thirty largest

unsecured creditors, and (iii) redact certain personal identifiable information for the Debtors’

employees, (b) approving the form and manner of notifying creditors of the commencement of

these chapter 11 cases, and (c) granting related relief.

                                            Jurisdiction and Venue

        2.        The United States Bankruptcy Court for the Southern District of New York

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York, dated February 1, 2012. The Debtors confirm their consent, pursuant to rule

7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the Court

entering a final order in connection with this motion to the extent that it is later determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

        3.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




2   A detailed description of the Debtors and their business, and the facts and circumstances supporting the Debtors’
    chapter 11 cases, are set forth in greater detail in the Declaration of Mohsin Y. Meghji, Chief Restructuring Officer
    of Barneys New York, Inc., in Support of Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day
    Declaration”), filed contemporaneously herewith. Capitalized terms used but not otherwise defined in this motion
    shall have the meanings ascribed to them in the First Day Declaration.



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       4.     The bases for the relief requested herein are sections 105(a), 107(c), 342(a), and

521 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules

1007, 2002, and 9013-1, and rules 1007-1, 5075-1 and 9013-1(a) of the Local Bankruptcy Rules

for the Southern District of New York (the “Local Rules”).

                                         Background

       5.     The Debtors are a world-renowned luxury specialty retailer with twenty-two stores

across the United States, including flagships in New York City and Beverly Hills, and a highly

curated, shopper-friendly e-commerce platform. Founded as a men’s retailer in 1923 in downtown

Manhattan, the Debtors sell the most intriguing fashion offering from the world’s top designers,

including women’s and men’s clothing, accessories, shoes, jewelry, cosmetics, fragrances, and

gifts for the home. The Debtors remain headquartered in New York, New York and lease all of

their store locations. The Debtors reported revenues of approximately $800 million for 2018. As

of the date hereof (the “Petition Date”), the Debtors have approximately 2,300 employees and

funded debt obligations of approximately $200 million.

       6.     On the Petition Date, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors are operating their business and managing their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

Concurrently with the filing of this motion, the Debtors filed a motion requesting procedural

consolidation and joint administration of these chapter 11 cases pursuant to Bankruptcy Rule

1015(b). No request for the appointment of a trustee or examiner has been made in these

chapter 11 cases, and no committees have been appointed or designated.




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                                                   Basis for Relief

I.       Cause Exists to Authorize the Debtors to Prepare a List of Creditors in Lieu of
         Submitting a Formatted Mailing Matrix.

         7.        Section 521(a) of the Bankruptcy Code, Bankruptcy Rule 1007(a)(1) and Local

Rule 1007-1(a) (collectively, the “Notice Rules”) require a debtor in a voluntary chapter 11 case

to file a list containing the name and complete address of each creditor.                                 In addition,

Bankruptcy Rule 1007(d) requires a debtor to file a list containing the name, address, and claim of

the creditors holding the twenty largest unsecured claims against the debtor.

         8.        Permitting the Debtors to maintain a consolidated list of their creditors

(the “Creditor Matrix”) in electronic format only, in lieu of filing a creditor matrix, is warranted

under the circumstances of these cases. Because the Debtors have many thousands of creditors

and other parties in interest, converting the Debtors’ computerized information to a format

compatible with the matrix requirements would be a burdensome task and would greatly increase

the risk of error with respect to information already on computer systems maintained by the

Debtors or their agents.

         9.        The Debtors, working together with Stretto (“Stretto”) 3 as their notice and claims

agent in these chapter 11 cases (the “Proposed Notice and Claims Agent”) 4 have already prepared

a single, consolidated list of the Debtors’ creditors in electronic format. The Debtors are prepared

to make the Creditor Matrix available in electronic form to any party in interest who so requests



3    Stretto is the trade name of Bankruptcy Management Solutions, Inc., and its subsidiaries.
4    The request to retain the Proposed Claims and Notice Agent is made pursuant to section 156(c) of title 28 of the
     United States Code, which empowers the Court to use outside facilities or services pertaining to the provisions of
     notice of the administrative information to parties in interest so long as the costs of the services are paid for out
     of assets of the estate. See 28 U.S.C. § 156(c); see also Debtors’ Application Seeking Entry of an Order
     (I) Authorizing and Approving the Appointment of Stretto as Claims and Noticing Agent and (II) Granting Related
     Relief, filed contemporaneously herewith.



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(or in non-electronic form at such requesting party’s sole cost and expense) in lieu of submitting a

mailing matrix to the clerk of the Court.

          10.      The Debtors submit that the proposed maintenance of the Creditor Matrix with the

Proposed Notice and Claims Agent is consistent with applicable Local Rules. Pursuant to

Local Rule 5075-1, a debtor filing a petition with more than 250 creditors and equity interest

holders, in the aggregate, as is the case here, is required to retain an approved claims and noticing

agent pursuant to an order of the Court.

          11.      Courts in this jurisdiction have approved relief similar to the relief requested herein

with respect to preparation of a consolidated, electronic list of a debtor’s creditors. See, e.g., In re

Hollander Sleep Products, LLC, Case No. 19-11608 (MEW) (Bankr. S.D.N.Y. June 4, 2019)

(authorizing the debtors to prepare a list of creditors in lieu of submitting a formatted mailing

matrix); In re Sungard Availability Services Capital, Inc., Case No. 19-22915 (RDD) (Bankr.

S.D.N.Y. May 2, 2019) (same); In re Windstream Holdings, Inc., Case No. 19-22312 (RDD)

(Bankr. S.D.N.Y. Mar. 5, 2019) (same); In re FULLBEAUTY Brands Holdings Corp., Case No.

19-22185 (RDD) (Bankr. S.D.N.Y. Feb. 7, 2019) (same); In re Aegean Marine Petrol. Network,

Inc., Case No. 18-13374 (MEW) (Bankr. S.D.N.Y. Dec. 6, 2018) (same). 5

II.       Cause Exists to Authorize the Debtors to File a Single Consolidated List of the
          Debtors’ Thirty Largest Unsecured Creditors.

          12.      Bankruptcy Rule 1007(d) provides that a debtor shall file “a list containing the

name, address, and claim of the creditors that hold the 20 largest unsecured claims, excluding

insiders.” Because certain of the Debtors share many creditors and the Debtors operate as a single




5     Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
      Copies of these cited orders are available upon request to the Debtors’ proposed counsel.



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business enterprise, the Debtors request authority to file a single, consolidated list of their thirty

largest general unsecured creditors.

       13.     Compiling separate top twenty creditor lists for each individual Debtor would

consume a substantial amount of the Debtors’ time and resources. Further, the Debtors believe a

single, consolidated list of the Debtors’ thirty largest unsecured, non-insider creditors will aid the

United States Trustee for the Southern District of New York (the “U.S. Trustee”) in its efforts to

communicate with these creditors. Filing a single consolidated list of the thirty largest unsecured

creditors in these chapter 11 cases is appropriate for these reasons.

       14.     Courts in this jurisdiction have approved relief similar to the relief requested herein

with respect to filing a single consolidated list of the largest unsecured creditors of a debtor and its

debtor affiliates. See, e.g., In re Hollander Sleep Products, LLC, Case No. 19-11608 (MEW)

(Bankr. S.D.N.Y. June 4, 2019) (authorizing the debtors to file a single list of their fifty largest

unsecured creditors); In re Sungard Availability Services Capital, Inc., Case No. 19-22915 (RDD)

(Bankr. S.D.N.Y. May 2, 2019) (authorizing the debtors to file a single list of their thirty largest

unsecured creditors); In re Windstream Holdings, Inc., Case No. 19-22312 (RDD)

(Bankr. S.D.N.Y. Mar. 5, 2019) (authorizing the debtors to file a single consolidated list of their

fifty largest unsecured creditors); In re FULLBEAUTY Brands Holdings Corp., Case

No. 19-22185 (RDD) (Bankr. S.D.N.Y. Feb. 7, 2019) (authorizing the debtors to file a single

consolidated list of their thirty largest unsecured creditors); In re Aegean Marine Petrol. Network,

Inc., Case No. 18-13374 (MEW) (Bankr. S.D.N.Y. Dec. 6, 2018) (same).

III.   Cause Exists to Redact Certain Personal Identifying Information for Individual
       Creditors.

       15.     Section 107(c) of the Bankruptcy Code provides that the Court “for cause, may

protect an individual, with respect to the following types of information to the extent the court



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finds that disclosure of such information would create undue risk of identity theft or other unlawful

injury to the individual[:] . . . [a]ny means of identification . . . contained in a paper filed, or to be

filed in a case under” the Bankruptcy Code. 11 U.S.C. § 107(c)(1)(A).

        16.      The Debtors respectfully submit that it is appropriate to authorize the Debtors to

redact from any paper filed or to be filed with the Court in these chapter 11 cases, including the

Creditor Matrix and Schedules and Statements, 6 the home addresses of the Debtors’ employees

because such information could be used, among other things, to perpetrate identity theft or locate

survivors of domestic violence or stalking who have otherwise taken steps to conceal their

whereabouts. This risk is not merely speculative. In at least one recent chapter 11 case, the abusive

former partner of a debtor’s employee exploited the publicly accessible creditor and employee

information filed in the chapter 11 case to track the employee to her new address, which had not

been publicly available until then, forcing the employee to change addresses again for her safety. 7

The Debtors propose to provide an unredacted version of the Creditor Matrix and any other

applicable filings to the Court, the United States Trustee for the Southern District of New York

(the “U.S. Trustee”), counsel to an official committee of unsecured creditors appointed in these

chapter 11 cases (if any), and other parties in interest upon reasonable request. In addition, the

Debtors will distribute to their current employees any notices that are received at the Debtors’

corporate headquarters and are intended for an employee.




6   As defined in the Debtors’ Motion Seeking Entry of an Order (I) Extending Time to File Schedules of Assets and
    Liabilities, Schedules of Current Income and Expenditures, Schedules of Executory Contracts and Unexpired
    Leases, and Statements of Financial Affairs and (II) Granting Related Relief, filed contemporaneously herewith.
7   The incident, which took place during the first Charming Charlie chapter 11 proceedings in 2017, is described in
    the “creditor matrix motion” filed in In re Charming Charlie Holdings Inc., Case No. 19-11534 (CSS) (Bankr.
    D. Del. Jul. 11, 2019), [Docket No. 4].



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        17.      Courts in this jurisdiction and others have granted the relief requested herein in

comparable chapter 11 cases. See, e.g., In re Charming Charlie Holdings Inc., Case No. 19-11534

(CSS) (Bankr. D. Del. Jul. 12, 2019) (authorizing the debtors to redact personal information of

their employees and former employees on the creditor matrix); In re Hollander Sleep Products,

LLC, Case No. 19-11608 (MEW) (Bankr. S.D.N.Y. June 4, 2019) (authorizing the debtors to redact

address information of individual creditors listed on the creditor matrix); In re Sungard Availability

Services Capital, Inc., Case No. 19-22915 (RDD) (Bankr. S.D.N.Y. May 2, 2019) (same); In re

Jones Energy Inc., Case No. 19-32112 (DRJ) (Bankr. S.D. Tex. Apr. 15, 2019) (same); In re

Windstream Holdings, Inc., Case No. 19-22312 (RDD) (Bankr. S.D.N.Y. March 5, 2019) (same);

In re Nine West Holdings, Inc., Case No. 18-10947 (SCC) (Bankr. S.D.N.Y. Apr. 9, 2018) (same);

see also In re CGG Holdings (U.S.) Inc., Case No. 17-11637 (MG) (Bankr. S.D.N.Y. June 14,

2017) (authorizing the Debtors to omit from their statements and schedules certain personal

information of certain current employees and former employees); In re Soundview Elite LTD.,

Case No. 13-13098 (REG) (Bankr. S.D.N.Y. Sept. 17, 2014) (authorizing the chapter 11 Trustee

to identify each investor by a descriptive identifier only and redact the investor addresses from

their schedules and statements to comply with Cayman Islands Privacy Laws). 8

        18.      For these reasons, the Debtors respectfully submit that cause exists to authorize the

Debtors to redact, pursuant to 11 U.S.C. § 107(c)(1), personally identifiable information—

including home addresses—in respect of the Debtors’ employees who are listed on the Creditor

Matrix, Schedules and Statements, or any other document filed with the Court. Absent such relief,

the Debtors would unnecessarily render individuals more susceptible to identity theft and could



8   Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these cited orders are available upon request to the Debtors’ proposed counsel.



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jeopardize the safety of employees who, unbeknownst to the Debtors, are survivors of domestic

violence or stalking by publishing their home addresses without any advance notice or opportunity

to opt out or take protective measures.

IV.     The Court Should Authorize Stretto to Mail Required Notices to Creditors.

        19.     Bankruptcy Rule 2002(a)(1) provides that the clerk (or other person directed by the

Court) must give the debtor, the U.S. Trustee, all creditors, and any indenture trustee at least 21-

days’ notice by mail of the meeting of creditors under section 341 of the Bankruptcy Code.

Bankruptcy Rule 2002(f)(1) further provides that notice of “the order for relief” shall be sent by

mail to all creditors.

        20.     The Debtors propose that Stretto undertake all mailings directed by the Court, the

U.S. Trustee, or as required by section 342(a) of the Bankruptcy Code and Bankruptcy Rules

2002 (a) and (f), including the notice of commencement of these chapter 11 cases, substantially in

the form attached as Exhibit 1 to Exhibit A attached hereto. The Debtors believe that using Stretto

to promptly provide notices to all applicable parties will maximize efficiency in administering

these chapter 11 cases and will ease administrative burdens that would otherwise fall upon the

Court and the U.S. Trustee. Additionally, Stretto will assist the Debtors in preparing creditor lists

and mailing initial notices, and therefore there are efficiencies in authorizing Stretto to mail the

notice of commencement of these chapter 11 cases. Accordingly, the Debtors respectfully submit

that Stretto should undertake such mailings.




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                                         Motion Practice

       21.     This motion includes citation to the applicable rules and statutory authorities upon

which the relief requested herein is predicated and a discussion of their application to this motion.

Accordingly, the Debtors submit that this motion satisfies Local Rule 9013-1(a).

                                              Notice

       22.     The Debtors will provide notice of this motion to: (a) the United States Trustee

for the Southern District of New York; (b) the holders of the thirty largest unsecured claims against

the Debtors (on a consolidated basis); (c) counsel to the Prepetition ABL Agent; (d) counsel to the

Term Loan Agent; (e) counsel to the DIP parties; (f) the United States Attorney’s Office for the

Southern District of New York; (g) the Internal Revenue Service; (h) the United States Securities

and Exchange Commission; (i) the state attorneys general for all states in which the Debtors

conduct business; and (j) any party that requests service pursuant to Bankruptcy Rule 2002. The

Debtors submit that, in light of the nature of the relief requested, no other or further notice need

be given.

                                        No Prior Request

       23.     No prior request for the relief sought in this motion has been made to this or any

other court.



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       WHEREFORE, the Debtors respectfully request entry of an order, substantially in the form

attached hereto as Exhibit A, granting the relief requested herein and such other relief as is just

and proper.

Dated: August 6, 2019                 /s/ Joshua A. Sussberg, P.C.
New York, New York                    Edward O. Sassower, P.C.
                                      Joshua A. Sussberg, P.C.
                                      KIRKLAND & ELLIS LLP
                                      KIRKLAND & ELLIS INTERNATIONAL LLP
                                      601 Lexington Avenue
                                      New York, New York 10022
                                      Telephone:     (212) 446-4800
                                      Facsimile:     (212) 446-4900
                                      -and-
                                      Chad J. Husnick, P.C.
                                      W. Benjamin Winger (pro hac vice pending)
                                      KIRKLAND & ELLIS LLP
                                      KIRKLAND & ELLIS INTERNATIONAL LLP
                                      300 North LaSalle Street
                                      Chicago, Illinois 60654
                                      Telephone:     (312) 862-2000
                                      Facsimile:     (312) 862-2200
                                      -and-
                                      Steven J. Reisman
                                      KATTEN MUCHIN ROSENMAN LLP
                                      575 Madison Avenue
                                      New York, New York 10022
                                      Telephone:    (212) 940-8800
                                      Facsimile:    (212) 940-8776

                                      Proposed Co-Counsel for the Debtors and Debtors in Possession
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                                   EXHIBIT A

                                 Proposed Order
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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )    Chapter 11
                                                                         )
    BARNEYS NEW YORK, INC., et al., 1                                    )    Case No. 19-36300 (CGM)
                                                                         )
                                       Debtors.                          )    (Joint Administration Requested)
                                                                         )

                       ORDER (I) AUTHORIZING THE
                 DEBTORS TO FILE A CONSOLIDATED LIST OF
               CREDITORS IN LIEU OF SUBMITTING A SEPARATE
            MAILING MATRIX FOR EACH DEBTOR, (II) AUTHORIZING
             THE DEBTORS TO FILE A CONSOLIDATED LIST OF THE
     DEBTORS’ THIRTY LARGEST UNSECURED CREDITORS, (III) AUTHORIZING
        THE DEBTORS TO REDACT CERTAIN PERSONALLY IDENTIFIABLE
      INFORMATION FOR THE DEBTORS’ EMPLOYEES, (IV) APPROVING THE
      FORM AND MANNER OF NOTIFYING CREDITORS OF COMMENCEMENT
       OF THESE CHAPTER 11 CASES, AND (V) GRANTING RELATED RELIEF


             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the Debtors to

(i) file a consolidated list of creditors in lieu of submitting a separate mailing matrix for each

Debtor, (ii) file a consolidated list of the Debtors’ thirty largest unsecured creditors, (iii) redact

certain personally identifiable information for the Debtors’ employees, (b) approving the form and

manner of notifying creditors of the commencement of these chapter 11 cases, and (c) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
      Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
      Fifth Avenue, New York, New York 10017.
2     Capitalized terms used but not defined herein have the meanings given to such terms in the Motion.
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Amended Standing Order of Reference from the United States District Court for the Southern

District of New York, dated February 1, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and that this Court may enter a final order consistent

with Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      As soon as practicable after entry of an order authorizing the engagement of the

Proposed Notice and Claims Agent in these chapter 11 cases, the Debtors shall furnish to the

Proposed Notice and Claims Agent a consolidated creditor list.

       3.      In lieu of submitting a formatted mailing matrix, the Debtors, with the assistance

of the Proposed Notice and Claims Agent (upon the Court’s approval of the Debtors’ retention of

the Proposed Notice and Claims Agent), shall make available a single, consolidated list of all of

the Debtors’ creditors in electronic form to any entity who so requests and in non-electronic form

at such requesting entity’s sole cost and expense.




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        4.      The notice of commencement of these chapter 11 cases, substantially in the form

attached to this Order as Exhibit 1 is hereby approved.

        5.      The Debtors are authorized to file a consolidated list of the thirty largest unsecured

creditors in these chapter 11 cases in lieu of each Debtor filing a list of its twenty largest unsecured

creditors.

        6.      The Debtors are authorized to redact personally identifiable information, including

home address information, in respect of the Debtors’ employees listed on the Creditor Matrix,

Schedules and Statements, or similar document filed with the Court. The Debtors shall provide an

unredacted version of the Creditor Matrix, Schedules and Statements, and any other applicable

filed document to the Court, the U.S. Trustee, counsel to any official committee appointed in these

chapter 11 cases, and any party in interest upon reasonable request.

        7.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        8.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


 Dated: ____________, 2019
 Poughkeepsie, New York                                THE HONORABLE CECELIA G. MORRIS
                                                       UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                             Notice of Commencement
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 Information to identify the cases:
Debtors: Barneys New York, Inc., et al.                                                                                       EIN: XX-XXXXXXX

United States Bankruptcy Court Southern District of New York

Case Number: 19-36300 (CGM) (Jointly Administered)                                      Date cases filed for chapter 11: August 6, 2019

Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Cases                                                                                                   12/17



For the debtors listed above, cases have been filed under chapter 11 of the Bankruptcy Code. An order for relief has been entered.

This notice has important information about the cases for creditors, debtors, and trustees, including information about the meeting of
creditors and deadlines. Read all pages carefully.

The filing of the cases imposed an automatic stay against most collection activities. This means that creditors generally may not take
action to collect debts from the debtors or the debtors’ property. For example, while the stay is in effect, creditors cannot sue, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from the debtors by mail,
phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees.

Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from
discharge may be required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below
for more information.)

To protect your rights, consult an attorney. All documents filed in the cases may be inspected at the bankruptcy clerk's office at the
address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov) or at the website maintained by
the Debtors’ noticing and claims agent, Stretto (“Stretto”). 1

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the cases.

1.   Full Name of Each Debtor:

         Jointly Administered Cases


                             DEBTOR                                 ADDRESS                          CASE NO.         EIN #
                                                         575 Fifth Avenue
               Barneys New York, Inc.                    11th Floor                                  19-36300      XX-XXXXXXX
                                                         New York, New York 11017

                                                         575 Fifth Avenue
               Barney’s Inc.                             11th Floor                                  19-36299      XX-XXXXXXX
                                                         New York, New York 11017

                                                         575 Fifth Avenue
               BNY Catering, Inc.                        11th Floor                                  19-36301      XX-XXXXXXX
                                                         New York, New York 11017

                                                         575 Fifth Avenue
               BNY Licensing Corp                        11th Floor                                  19-36302      XX-XXXXXXX
                                                         New York, New York 11017

                                                         575 Fifth Avenue
               Barneys Asia Co. LLC                      11th Floor                                  19-36303      XX-XXXXXXX
                                                         New York, New York 11017




1
         Stretto is the trade name of Bankruptcy Management Solutions, Inc., and its subsidiaries.
     Official Form 309F (For Corporations or Partnerships)                                              Notice of Chapter 11 Bankruptcy Cases
         19-36300-cgm          Doc 4        Filed 08/06/19 Entered 08/06/19 02:15:51              Main Document
                                                          Pg 18 of 20
Debtor: Barneys New York, Inc., et al.                                                      Case Number: 19-36300 (CGM)
2.   All other names used in the last 8 years:

                      Current Entity Name                                               Former Names
     Barneys New York, Inc.                                                                 N/A
     Barney’s Inc.                                                                          N/A
     BNY Catering, Inc.                                                                     N/A
     BNY Licensing Corp                                                                     N/A
     Barneys Asia Co. LLC                                                                   N/A

3.   Address: See Chart Above

4.   Debtors’ Proposed Counsel

       Edward O. Sassower, P.C.
       Joshua A. Sussberg, P.C.
       KIRKLAND & ELLIS LLP
       KIRKLAND & ELLIS INTERNATIONAL LLP
       601 Lexington Avenue
       New York, New York 10022
       Telephone:      (212) 446-4800
       Facsimile:      (212) 446-4900
       Email:          edward.sassower@kirkland.com
                       joshua.sussberg@kirkland.com

       - and –

       Chad J. Husnick, P.C.
       W. Benjamin Winger
       KIRKLAND & ELLIS LLP
       KIRKLAND & ELLIS INTERNATIONAL LLP
       300 North LaSalle Street
       Chicago, Illinois 60654
       Telephone:         (312) 862-2000
       Facsimile:         (312) 862-2200
       Email:             chad.husnick@kirkland.com
                          benjamin.winger@kirkland.com

       - and –
       Steven J. Reisman
       KATTEN MUCHIN ROSENMAN LLP
       575 Madison Avenue
       New York, New York 10022
       Telephone       (212) 940-8800
       Facsimile       (212) 940-8776

     Debtors’ Notice and Claims Agent
       Stretto
       8269 East 23rd Avenue, Suite 275
       Denver, CO 80238

5.   Bankruptcy clerk's office

        Documents in these cases may be filed at            U.S. Bankruptcy Court             Hours open: Monday − Friday
        this address.                                          355 Main Street                 8:30 AM (ET) − 5:30 PM (ET)
                                                         Poughkeepsie, New York 12601         Contact phone 845−451−6372
        You may inspect all records filed in these
        cases at this office or online at either
        www.pacer.gov or
        http://case.stretto.com/barneys.

6.   Meeting of creditors

        The debtors’ representative must attend the      To be determined.                             Location:
        meeting to be questioned under oath.                                                       To be determined.



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Debtor: Barneys New York, Inc., et al.                                                                Case Number: 19-36300 (CGM)
       Creditors may attend, but are not required to         The meeting may be continued or
       do so.                                                adjourned to a later date. If so, the
                                                             date will be on the court docket.

7.   Proof of claim deadline

                                      Deadline for filing proof of claim: Not yet set. If a deadline is set, notice will be sent at a
                                      later time.

                                      A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may
                                      be filed either electronically or as a paper document. For more information on how to file a
                                      Proof of Claim, visit the Southern District of New York Bankruptcy Court's website at:
                                      http://www.nysb.uscourts.gov/forms, Stretto’s website at http://case.stretto.com/barneys, or
                                      any bankruptcy clerk’s office.
                                      Your claim will be allowed in the amount scheduled unless:

                                          •     Your claim is designated as disputed, contingent, or unliquidated;
                                          •     You file a proof of claim in a different amount; or
                                          •     You receive another notice.

                                      If your claim is not scheduled or if your claim is designated as disputed, contingent, or
                                      unliquidated, you must file a proof of claim or you might not be paid on your claim and you
                                      might be unable to vote on a plan. You may file a proof of claim even if your claim is
                                      scheduled.

                                      You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov or
                                      http://case.stretto.com/barneys.

                                      Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                      claim. Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with
                                      consequences a lawyer can explain. For example, a secured creditor who files a proof of claim
                                      may surrender important nonmonetary rights, including the right to a jury trial.

8.   Exception to discharge deadline

     The bankruptcy clerk's office            If § 523(c) applies to your claim and you seek to have it excepted from discharge, you
     must receive a complaint and             must start a judicial proceeding by filing a complaint by the deadline stated below.
     any required filing fee by the
     following deadline.                      Deadline for filing the complaint: To be determined.

9.   Creditors with a foreign address

     If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to extend the deadlines in
     this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in these cases.


10. Filing a Chapter 11 bankruptcy case

     Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court confirms it. You may
     receive a copy of the plan and a disclosure statement telling you about the plan, and you may have the opportunity to vote on the
     plan. You will receive notice of the date of the confirmation hearing, and you may object to confirmation of the plan and attend the
     confirmation hearing. Unless a trustee is serving, the debtors will remain in possession of their property and may continue to operate
     their business.


11. Discharge of debts

     Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt. See 11 U.S.C.
     § 1141(d). A discharge means that creditors may never try to collect the debt from the debtors except as provided in the plan. If you
     want to have a particular debt owed to you excepted from the discharge and § 523(c) applies to your claim, you must start a judicial
     proceeding by filing a complaint and paying the filing fee in the bankruptcy clerk's office by the deadline.




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Debtor: Barneys New York, Inc., et al.                                      Case Number: 19-36300 (CGM)



                                       If you have questions about this notice,
                                          please call Stretto at (855) 202-8711




   Official Form 309F (For Corporations or Partnerships)                    Notice of Chapter 11 Bankruptcy Case
